              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:17-cr-00072-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
          vs.                   )              ORDER
                                )
BILLY G. ADAMES and             )
JUAN C. VASQUEZ,                )
                                )
                   Defendants.  )
_______________________________ )


      THIS MATTER is before the Court on Defendant Juan C. Vasquez’s

Partial Motion to Dismiss [Doc. 32], Defendant Billy G. Adames’ Motion to

Join and Adopt Motion to Dismiss Filed by Codefendant [Doc. 35], the

Government’s Response to Defendant’s Partial Motion to Dismiss [Doc. 38],

and Defendant Vasquez’s Reply to Response to Partial Motion to Dismiss

[Doc. 42].

I.    PROCEDURAL BACKGROUND

      On June 6, 2017, Defendants Billy G. Adames and Juan C. Vasquez

(“Defendants”) were charged in a Bill of Indictment. [Doc. 1]. Defendant

Adames was charged with one count of speeding and driving recklessly, in

violation of N.C.G.S. § 20-140, while fleeing and attempting to elude a law


     Case 1:17-cr-00072-MR-DLH   Document 51   Filed 11/01/17   Page 1 of 6
enforcement officer by motor vehicle, all in violation of N.C.G.S. § 20-

141.5(b) and 18 U.S.C. § 13; and one count of possession of marijuana in

violation of 21 U.S.C. § 844(a). [Id.]. Defendant Vasquez was charged with

one count of speeding and driving recklessly, in violation of N.C.G.S. § 20-

140, while fleeing and attempting to elude a law enforcement officer by motor

vehicle, all in violation of N.C.G.S. § 20-141.5(b) and 18 U.S.C. § 13. [Id.].

Defendants’ initial appearances and arraignments were held on June 7,

2017. The matter was set for trial during the June 19, 2017 trial term. Then,

pursuant to 18 U.S.C. § 3161(c)(2), the Magistrate Judge ordered that the

matter be continued to the September 5, 2017 trial term.

     On August 1, 2017, the Defendants were charged in a Superseding Bill

of Indictment, which charged the same offenses and added a Notice of

Forfeiture by which the Government notified the Defendants that the motor

vehicles driven by persons charged with the offense of felony speeding to

elude arrest are subject to forfeiture. [Doc. 20].      On August 9, 2017,

arraignments on the Superseding Indictment were held. Defendants waived

their appearances at the arraignments. On August 18, 2017, Defendant

Vasquez moved for dismissal of the forfeiture proceedings in the

Superseding Indictment on the grounds that the Court lacks subject matter

jurisdiction over such proceedings. [Doc. 32].       On August 21, 2017,

                                      2
    Case 1:17-cr-00072-MR-DLH    Document 51   Filed 11/01/17   Page 2 of 6
Defendant Adames filed a “Motion to Join and Adopt Motion to Dismiss Filed

by Codefendant.” [Doc. 35]. On August 25, 2017, the Government filed its

response to Defendants’ partial motion to dismiss. [Doc. 38] and on August

30, 2017, Defendant Vasquez filed his reply. [Doc. 42]. Defendant Adames

did not move to join in this reply. On August 28, 2017, the Court continued

the case to its current setting during the November 6, 2017 trial term. [Doc.

40].

II.     ANALYSIS

        Defendants move to dismiss, pursuant to Federal Rule of Criminal

Procedure 12(b)(2), “the forfeiture proceedings set forth as ‘NOTICE OF

FORFEITURE AND FINDING OF PROBABLE CAUSE’ in the Superseding

Indictment [Doc. 20] on the grounds that this Court lacks subject matter

jurisdiction over such proceedings.”          [Doc. 32].      The NOTICE OF

FORFEITURE provides, in relevant part:

              Under [18 U.S.C. §] 13(a), a person guilty under the
              charges set forth in this indictment shall be subject to
              like punishment in the federal case as if he was
              punished under the jurisdiction of the State. Further,
              under Sections 20-28.2 and 20-28.3 of the North
              Carolina General Statutes, a vehicle driven by a
              person charged with the offense of felony speeding
              to elude arrest is subject to forfeiture.

[Doc. 20 at 3]. Section 13(a) is the Assimilative Crimes Act (the “ACA”),

which subjects persons on federal lands to federal prosecution in federal
                                         3
       Case 1:17-cr-00072-MR-DLH    Document 51    Filed 11/01/17   Page 3 of 6
court for violations of state criminal statutes in “enclaves” where federal lands

are located. See Lewis v. U.S., 523 U.S. 155, 155 (1998); U.S. v. Fox, 60

F.3d 181, 183 (4th Cir. 1995). “The ACA transforms a crime against the state

into a crime against the federal government.” U.S. v. Kiliz, 694 F.2d 628,

629 (9th Cir. 1982) (citing U.S. v. Press Publishing Co., 219 U.S. 1 (1911)).

Here, the conduct alleged – felony fleeing on a motor vehicle and attempting

to elude arrest while driving recklessly in doing so – occurred in the Great

Smoky National Park, a federal “enclave” located within Swain County, North

Carolina. [See Doc. 20]. As such, Defendants were charged under the ACA

for violations of North Carolina criminal statute, N.C.G.S § 20-141.5(b), that

make such conduct illegal had it happened on State land.

      In the present motion, Defendants argue that this Court lacks subject

matter jurisdiction over the forfeiture proceedings as pled in the Superseding

Indictment because the ACA incorporates only criminal law of the jurisdiction

within which the federal enclave exists and the forfeiture proceedings that

are implicated by the Defendants’ conduct, N.C.G.S. §§ 20-28.2 and 20-

28.3, are civil in nature. [Doc. 33 at 2]. The Government’s response is two-

fold. First, it argues that any motion to dismiss the Notice of Forfeiture is

premature and should be denied. Second, even if not premature, the plain

language of the ACA demonstrates that Congress intended for all

                                       4
    Case 1:17-cr-00072-MR-DLH     Document 51    Filed 11/01/17   Page 4 of 6
punishments available to the state court be available to the federal judge,

including forfeiture arising from a felony conviction in the instant case. The

Defendants’ motion is, in fact, premature. The Court, therefore, need not

reach the substantive arguments of the parties.

      A Notice of Forfeiture is only what its name implies – a notice. Rule

32.2(a) of the Criminal Rules of Federal Procedure requires that the

Government give notice in the information or indictment to a criminal

defendant of its intent to seek forfeiture of property. Without such notice, a

court cannot enter judgment of forfeiture in criminal proceedings. Fed. R.

Crim. P. 32.2(a). Rule 32.2 specifically provides, “[t]he notice should not be

designated as a count of the indictment or information.”          Id. (emphasis

added). The Government’s Notice of Forfeiture advised Defendants that,

should Defendants be found or plead guilty, “a vehicle driven by a person

charged with the offense of felony speeding to elude arrest is subject to

forfeiture.” [Doc. 20 at 3]. Forfeiture can be sought only after Defendants

are found or plead guilty. Defendants may contest forfeiture, if at all, “after

the verdict or finding of guilt.” See Fed. R. Crim. P. 32.2(b)(1)(B). Until then,

there are no forfeiture proceedings and nothing for this Court to dismiss.

      IT IS, THEREFORE, ORDERED that the Defendant Billy G. Adames’

Motion to Join and Adopt Motion to Dismiss Filed by Codefendant [Doc. 35]

                                       5
    Case 1:17-cr-00072-MR-DLH     Document 51    Filed 11/01/17   Page 5 of 6
              is GRANTED and Defendant Juan C. Vasquez’s Partial Motion to Dismiss

              [Doc. 32] is DENIED WITHOUT PREJUDICE.

                      IT IS SO ORDERED.

Signed: November 1, 2017




                                                    6
                    Case 1:17-cr-00072-MR-DLH   Document 51   Filed 11/01/17   Page 6 of 6
